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                                                                          FILED
                                                                            OCT O3 2019
                                                                         Clerk. U.S District Court
                    IN THE UNITED STATES DISTRICT COURT                    District Of Montana
                                                                                 Missoula
                        FOR THE DISTRICT OF MONTANA
                             MISSOULA DIVISION



  UNITED STATES OF AMERICA,
                                                      CR 18-5-M-DLC
                         Plaintiff,

  vs.                                                  ORDER

  JEREMY DAVID MEDBERY,

                         Defendant.

         Before the Court is Defendant's Motion for Information on Cooperating

Witnesses.      (Doc. 67.)   Defendant Medbery is charged with conspiracy to

distribute and possess with intent to distribute methamphetamine, possession with

intent to distribute methamphetamine, distribution of methamphetamine, and

possession of a firearm in furtherance of a drug trafficking crime.    (Doc. 1 at 1-

2.)     He stands trial on October 15, 2019.    (Doc. 65 at 1.)

         Medbery requests information regarding the United States' cooperating

witnesses and confidential informants, including but not limited to: Christopher

George Nomura, Camilla Johnson, Nathan Culver, an anonymous caller, and a

confidential source "who initiated a controlled buy."      (Doc. 67 at 1-2.)    The

United States has informed Medbery that its policy requires it to review and

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provide the information he requests, but Medbery seeks to make a record of his

request nevertheless.   (Id. at 2.)

      In response to Medbery' s motion, the United States represents that "the

information he seeks has been produced and made available to him or - as far as

the government is aware - does not exist."     (Doc. 79 at 3.)    According to the

United States, it has produced to Medbery over 100 pages of documents, which

include his own statements to law enforcement, recorded interviews of an alleged

co-conspirator and another individual, photographs, and audio recordings.        (Id.)

The United States also acknowledges that it is aware of its discovery obligations,

and has provided Medbery supplemental discovery accordingly, which includes:

"history of utilization as an informant, monies paid, criminal histories, and law

enforcement recordings regarding cooperating witnesses."         (Id.)

      Medbery does not assert in his motion (Doc. 67) or supporting brief

(Doc. 70) that the United States is concealing any of the materials he requests, but

only that he intends to make a record.   Absent a contrary contention from

Medbery, the Court is left to rely on the United States' representations that it has

fulfilled and will continue to fulfill its acknowledged discovery obligations.

      Accordingly, IT IS ORDERED that Medbery's Motion (Doc. 67) is

DENIED AS MOOT as it requests the Court to order the United States to comply

with existing and acknowledged discovery obligations, which it represents have
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been fulfilled.

      DATED this 3"'J, day of October, 2019.



                                           Dana L. Christensen, Chief Judge
                                           United States District Court




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